Case 2:19-cv-02874-SVW-MAA Document 32 Filed 08/22/19 Page 1 of 13 Page ID #:201



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  10
        Counsel for Defendant CALLFIRE, INC.
  11
                               UNITED STATES DISTRICT COURT
  12
                              CENTRAL DISTRICT OF CALIFORNIA
  13
                                        WESTERN DIVISION
  14
  15
  16    LEE WIGOD, individually and on             Case No. 2:19-cv-02874-SVW-MAA
        behalf of all others similarly situated,
  17                                               Assigned to Hon. Stephen V. Wilson
                         Plaintiff,
  18                                               CALLFIRE, INC.’S ANSWER AND
              v.                                   AFFIRMATIVE DEFENSES TO
  19                                               PLAINTIFF’S CLASS ACTION
        CALLFIRE, INC.,                            COMPLAINT
  20                     Defendant.
  21                                               Complaint filed: April 15, 2019
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                                                                 CALLFIRE, INC.’S ANSWER AND
                                                                      AFFIRMATIVE DEFENSES
                                                                        2:19-cv-02874-SVW-MAA
Case 2:19-cv-02874-SVW-MAA Document 32 Filed 08/22/19 Page 2 of 13 Page ID #:202



    1           Defendant CallFire, Inc. (“CallFire” or “Defendant”) files this Answer and
    2   Affirmative Defenses to Plaintiff Lee Wigod’s (“Wigod” or “Plaintiff”) Class Action
    3   Complaint (“Complaint”) and answers the corresponding numbered paragraphs of
    4   the Complaint as follows:
    5                                         PARTIES
    6 1. CallFire lacks knowledge or information sufficient to form a belief about the truth
    7      of the allegations in paragraph 1, and therefore denies the allegations.
    8 2. CallFire admits that it is a corporation organized and existing under the laws of
    9      the State of Delaware with a principal place of business located at 1410 2nd Street,
  10       Suite 200, Santa Monica, California 90401. The remaining allegations contained
  11       in paragraph 2 contain legal conclusions to which no response is required.
  12                             JURISDICTION AND VENUE
  13 3. Paragraph 3 contains legal conclusions to which no response is required. To the
  14       extent a response is required, CallFire denies knowledge or information sufficient
  15       to form a belief as to the truth or falsity of the allegations contained in paragraph
  16       3.
  17 4. Paragraph 4 contains legal conclusions to which no response is required. To the
  18       extent a response is required, CallFire denies knowledge or information sufficient
  19       to form a belief as to the truth or falsity of the allegations contained in paragraph
  20       4.
  21                        COMMON FACTUAL ALLEGATIONS
  22 5. CallFire admits the allegations contained in paragraph 5.
  23 6. Paragraph 6 contains legal conclusions to which no response is required. To the
  24       extent a response is required, CallFire denies the allegations contained in
  25       paragraph 6.
  26 7. Paragraph 7 contains legal conclusions to which no response is required. To the
  27       extent a response is required, CallFire denies the allegations contained in
  28       paragraph 7.
                                                                   CALLFIRE, INC.’S ANSWER AND
                                                                        AFFIRMATIVE DEFENSES
                                                  1                       2:19-cv-02874-SVW-MAA
Case 2:19-cv-02874-SVW-MAA Document 32 Filed 08/22/19 Page 3 of 13 Page ID #:203



    1 8. CallFire lacks knowledge or information sufficient to form a belief as to the truth
    2      or falsity of the allegations contained in paragraph 8, and thus denies the
    3      allegations.
    4 9. Paragraph 9 contains legal conclusions to which no response is required. To the
    5      extent a response is required, CallFire denies the allegations contained in
    6      paragraph 9.
    7 10. Paragraph 10 contains legal conclusions to which no response is required. To the
    8      extent a response is required, CallFire denies the allegations contained in
    9      paragraph 10.
  10                       FACTS SPECIFIC TO PLAINTIFF WIGOD
  11 11. CallFire lacks knowledge or information sufficient to form a belief about the truth
  12       of the allegations in paragraph 11, and therefore denies the allegations.
  13 12. CallFire lacks knowledge or information sufficient to form a belief about the truth
  14       of the allegations in paragraph 12, and therefore denies the allegations.
  15 13. CallFire lacks knowledge or information sufficient to form a belief about the truth
  16       of the allegations in paragraph 13, and therefore denies the allegations.
  17 14. CallFire lacks knowledge or information sufficient to form a belief about the truth
  18       of the allegations in paragraph 14, and therefore denies the allegations.
  19 15. CallFire lacks knowledge or information sufficient to form a belief about the truth
  20       of the allegations in paragraph 15, and therefore denies the allegations.
  21 16. CallFire lacks knowledge or information sufficient to form a belief about the truth
  22       of the allegations in paragraph 16, and therefore denies the allegations.
  23 17. CallFire lacks knowledge or information sufficient to form a belief about the truth
  24       of the allegations in paragraph 17, and therefore denies the allegations.
  25 18. CallFire lacks knowledge or information sufficient to form a belief about the truth
  26       of the allegations in paragraph 18, and therefore denies the allegations.
  27 19. CallFire lacks knowledge or information sufficient to form a belief about the truth
  28       of the allegations in paragraph 19, and therefore denies the allegations.
                                                                  CALLFIRE, INC.’S ANSWER AND
                                                                       AFFIRMATIVE DEFENSES
                                                  2                      2:19-cv-02874-SVW-MAA
Case 2:19-cv-02874-SVW-MAA Document 32 Filed 08/22/19 Page 4 of 13 Page ID #:204



    1 20. CallFire lacks knowledge or information sufficient to form a belief about the truth
    2      of the allegations in paragraph 20, and therefore denies the allegations.
    3 21. Paragraph 21 contains legal conclusions to which no response is required. To the
    4      extent a response is required, CallFire lacks knowledge or information sufficient
    5      to form a belief about the truth of the allegations in paragraph 21, and therefore
    6      denies the allegations.
    7 22. CallFire lacks knowledge or information sufficient to form a belief about the truth
    8      of the allegations in paragraph 22, and therefore denies the allegations.
    9 23. Paragraph 23 contains legal conclusions to which no response is required. To the
  10       extent a response is required, CallFire lacks knowledge or information sufficient
  11       to form a belief about the truth of the allegations in paragraph 23, and therefore
  12       denies the allegations.
  13 24. CallFire lacks knowledge or information sufficient to form a belief about the truth
  14       of the allegations in paragraph 24, and therefore denies the allegations.
  15 25. Paragraph 25 contains no factual allegations to which a response is required. To
  16       the extent a response is deemed required, CallFire states that paragraph 25
  17       purports to cite selected portions of the United States Code and respectfully refers
  18       the Court to the applicable statute for its full language and context.
  19 26. Paragraph 26 contains no factual allegations to which a response is required. To
  20       the extent a response is required, CallFire lacks knowledge or information
  21       sufficient to form a belief about the truth of the allegations in paragraph 26, and
  22       therefore denies the allegations.
  23                                 CLASS ALLEGATIONS
  24 27. Paragraph 27 contains no factual allegations to which a response is required. To
  25       the extent a response is required, CallFire lacks knowledge or information
  26       sufficient to form a belief about the truth of the allegations in paragraph 27, and
  27       therefore denies the allegations.
  28
                                                                   CALLFIRE, INC.’S ANSWER AND
                                                                        AFFIRMATIVE DEFENSES
                                                   3                      2:19-cv-02874-SVW-MAA
Case 2:19-cv-02874-SVW-MAA Document 32 Filed 08/22/19 Page 5 of 13 Page ID #:205



    1 28. Paragraph 28 contains no factual allegations to which a response is required. To
    2      the extent a response is required, CallFire lacks knowledge or information
    3      sufficient to form a belief about the truth of the allegations in paragraph 28, and
    4      therefore denies the allegations.
    5 29. Paragraph 29 contains legal conclusions to which no response is required. To the
    6      extent a response is required, CallFire denies the allegations contained in
    7      paragraph 29.
    8 30. Paragraph 30 contains no factual allegations to which a response is required. To
    9      the extent a response is required, CallFire lacks knowledge or information
  10       sufficient to form a belief about the truth of the allegations in paragraph 30, and
  11       therefore denies the allegations.
  12 31. Paragraph 31 contains legal conclusions to which no response is required. To the
  13       extent a response is required, CallFire lacks knowledge or information sufficient
  14       to form a belief about the truth of the allegations in paragraph 31, and therefore
  15       denies the allegations.
  16 32. Paragraph 32 contains legal conclusions to which no response is required. To the
  17       extent a response is required, CallFire denies the allegations contained in
  18       paragraph 32.
  19 33. Paragraph 33 contains legal conclusions to which no response is required. To the
  20       extent a response is required, CallFire denies the allegations contained in
  21       paragraph 33.
  22 34. Paragraph 34 contains no factual allegations to which a response is required. To
  23       the extent a response is required, CallFire lacks knowledge or information
  24       sufficient to form a belief about the truth of the allegations in paragraph 34, and
  25      therefore denies the allegations.
  26                              FIRST CAUSE OF ACTION
         Violation of the Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq.
  27                    (On behalf of Plaintiff and the Stop Call Class)
  28
                                                                  CALLFIRE, INC.’S ANSWER AND
                                                                       AFFIRMATIVE DEFENSES
                                                  4                      2:19-cv-02874-SVW-MAA
Case 2:19-cv-02874-SVW-MAA Document 32 Filed 08/22/19 Page 6 of 13 Page ID #:206



    1 35. CallFire lacks knowledge or information sufficient to form a belief about the truth
    2      of the allegations in paragraph 35, and therefore denies the allegations.
    3 36. CallFire denies the allegations contained in paragraph 36.
    4 37. CallFire denies the allegations contained in paragraph 37.
    5 38. CallFire lacks knowledge or information sufficient to form a belief about the truth
    6      of the allegations in paragraph 38, and therefore denies the allegations.
    7 39. CallFire lacks knowledge or information sufficient to form a belief about the truth
    8      of the allegations in paragraph 39, and therefore denies the allegations.
    9 40. CallFire denies the allegations contained in paragraph 40.
  10 41. Paragraph 41 contains legal conclusions to which no response is required. To the
  11       extent a response is required, CallFire lacks knowledge or information sufficient
  12       to form a belief about the truth of the allegations in paragraph 41, and therefore
  13       denies the allegations.
  14 42. Paragraph 42 contains legal conclusions to which no response is required. To the
  15       extent a response is required, CallFire lacks knowledge or information sufficient
  16       to form a belief about the truth of the allegations in paragraph 42, and therefore
  17       denies the allegations.
  18 43. Paragraph 43 contains a legal conclusion to which no response is required. To the
  19       extent a response is required, CallFire denies the allegations contained in
  20       paragraph 43.
  21 44. Paragraph 44 contains a legal conclusion to which no response is required. To the
  22       extent a response is required, CallFire denies the allegations contained in
  23       paragraph 44.
  24 45. Paragraph 45 contains a legal conclusion to which no response is required. To the
  25       extent a response is required, CallFire denies the allegations contained in
  26       paragraph 45.
  27
  28
                                                                  CALLFIRE, INC.’S ANSWER AND
                                                                       AFFIRMATIVE DEFENSES
                                                  5                      2:19-cv-02874-SVW-MAA
Case 2:19-cv-02874-SVW-MAA Document 32 Filed 08/22/19 Page 7 of 13 Page ID #:207



    1 46. Paragraph 46 contains a legal conclusion to which no response is required. To the
    2       extent a response is required, CallFire denies the allegations contained in
    3       paragraph 46.
    4
                                SECOND CAUSE OF ACTION
    5                         Violation of 47 U.S.C. § 227, et seq.
    6                  (On behalf of Plaintiff and the DNC Registry Class)

    7
        47. CallFire lacks knowledge or information sufficient to form a belief about the truth
    8
            of the allegations in paragraph 47, and therefore denies the allegations.
    9
        48. Paragraph 48 contains no factual allegations to which a response is required. To
  10
            the extent a response is deemed required, CallFire states that paragraph 48
  11
            purports to cite selected portions of the United States Code and respectfully refers
  12
            the Court to the applicable statute for its full language and context.
  13
        49. Paragraph 49 contains no factual allegations to which a response is required. To
  14
            the extent a response is deemed required, CallFire states that paragraph 49
  15
            purports to cite selected portions of the Code of Federal Regulations and
  16
            respectfully refers the Court to the applicable regulations for their full language
  17
            and context.
  18
        50. Paragraph 50 contains no factual allegations to which a response is required. To
  19
            the extent a response is deemed required, CallFire states that paragraph 50
  20
            purports to cite selected portions of the Code of Federal Regulations and
  21
            respectfully refers the Court to the applicable regulations for their full language
  22
            and context.
  23
        51. Paragraph 51 contains a legal conclusion to which no response is required. To
  24
            the extent a response is required, CallFire denies the allegations contained in
  25
            paragraph 51.
  26
  27
  28
                                                                    CALLFIRE, INC.’S ANSWER AND
                                                                         AFFIRMATIVE DEFENSES
                                                    6                      2:19-cv-02874-SVW-MAA
Case 2:19-cv-02874-SVW-MAA Document 32 Filed 08/22/19 Page 8 of 13 Page ID #:208



    1 52. Paragraph 52 contains legal conclusions to which no response is required. To the
    2      extent a response is required, CallFire denies the allegations contained in
    3      paragraph 52.
    4 53. Paragraph 53 contains a legal conclusion to which no response is required. To the
    5      extent a response is required, CallFire denies the allegations contained in
    6      paragraph 53.
    7 54. Paragraph 54 contains a legal conclusion to which no response is required. To the
    8      extent a response is required, CallFire denies the allegations contained in
    9      paragraph 54.
  10 55. Paragraph 55 contains a legal conclusion to which no response is required. To the
  11       extent a response is required, CallFire denies the allegations contained in
  12       paragraph 55.
  13 56. Paragraph 56 contains legal conclusions to which no response is required. To the
  14       extent a response is required, CallFire denies the allegations contained in
  15       paragraph 56.
  16 57. Paragraph 57 contains legal conclusions to which no response is required. To the
  17       extent a response is required, CallFire denies the allegations contained in
  18       paragraph 57.
  19                               REQUESTS FOR RELIEF
  20          The remainder of the Complaint is a request for relief to which no response is
  21    required. To the extent a response is required, CallFire denies that Plaintiff or the
  22    members of the putative class are entitled to any of the relief sought. CallFire
  23    requests that this Court enter an order dismissing Plaintiff’s claims, with prejudice,
  24    and awarding costs of suit to CallFire.
  25                                   GENERAL DENIAL
  26          CallFire denies any allegation that was not expressly admitted above.
  27                              AFFIRMATIVE DEFENSES
  28          In further response to Plaintiffs’ Class Action Complaint, CallFire raises the
                                                                  CALLFIRE, INC.’S ANSWER AND
                                                                       AFFIRMATIVE DEFENSES
                                                  7                      2:19-cv-02874-SVW-MAA
Case 2:19-cv-02874-SVW-MAA Document 32 Filed 08/22/19 Page 9 of 13 Page ID #:209



    1   following affirmative defenses. CallFire reserves all affirmative defenses under
    2   Federal Rule of Civil Procedure 8(c) and any other defenses, at law or in equity, that
    3   may now exist or in the future be available based on discovery and further factual
    4   investigation in this case. CallFire reserves the right to amend or supplement its
    5   affirmative defenses. In raising these affirmative defenses, CallFire does not admit
    6   any of Plaintiffs’ allegations, nor does it assume any burden of proof that it would
    7   not otherwise bear.
    8                         FIRST AFFIRMATIVE DEFENSE
    9                    (INDEMNIFICATION AND CONTRIBUTION)
  10
        1. The purported damages allegedly suffered by Plaintiff are the results of the acts
  11
           or omissions of third persons over whom CallFire had neither control nor
  12
           responsibility, or of Plaintiff himself. To the extent CallFire has any liability, that
  13
           liability must be satisfied by the other parties or third parties at fault.
  14
  15                           SECOND AFFIRMATIVE DEFENSE
                                  (NO COGNIZABLE INJURY)
  16
  17 2. Plaintiff and/or others alleged to be members of the putative class have sustained
  18       no cognizable injury or damages.
  19                       THIRD AFFIRMATIVE DEFENSE
  20               (FAILURE TO RECEIVE ALLEGED TEXT MESSAGES)
  21
        3. Plaintiff and/or others alleged to be members of the putative class cannot claim a
  22
           Telephone Consumer Protection Act (“TCPA”) violation because they did not
  23
           receive the text messages that were allegedly sent.
  24
  25                    FOURTH AFFIRMATIVE DEFENSE
              (FAILURE OF REPRESENTATIVE PARTY TO PROTECT THE
  26                         INTERESTS OF THE CLASS)
  27
  28
                                                                      CALLFIRE, INC.’S ANSWER AND
                                                                           AFFIRMATIVE DEFENSES
                                                     8                       2:19-cv-02874-SVW-MAA
Case 2:19-cv-02874-SVW-MAA Document 32 Filed 08/22/19 Page 10 of 13 Page ID #:210



    1
    2 4. The claims of Plaintiff and/or putative class members fail because Plaintiff fails
    3      to fairly and adequately protect the interests of the class.
    4
                           FIFTH AFFIRMATIVE DEFENSE
    5              (VIOLATION OF CALLFIRE’S TERMS OF SERVICE)
    6
        5. CallFire has no liability for any text messages allegedly received by Plaintiff or
    7
           other putative class members because, in sending any text messages in violation
    8
           of the law, third parties violated CallFire’s Terms of Service.
    9
   10                          SIXTH AFFIRMATIVE DEFENSE
                                       (CONSENT)
   11
   12 6. The claims of Plaintiff and/or others alleged to be putative class members fail to
   13      the extent they consented to receive the alleged text messages at issue.
   14
                             SEVENTH AFFIRMATIVE DEFENSE
   15                          (MANDATORY ARBITRATION)
   16
        7. Some or all of those alleged to be members of the putative class may not prosecute
   17
           their claims in this Court to the extent those claims are subject to mandatory
   18
           contractual arbitration.
   19
   20                         EIGHTH AFFIRMATIVE DEFENSE
                                 (RIGHT TO DUE PROCESS)
   21
   22 8. Awarding Plaintiff and/or others alleged to be putative class members the relief
   23    sought in the Complaint would violate CallFire’s right to due process under the
   24    United States Constitution.
   25
                               NINTH AFFIRMATIVE DEFENSE
   26                           (STATUTE OF LIMITATIONS)
   27
   28
                                                                    CALLFIRE, INC.’S ANSWER AND
                                                                         AFFIRMATIVE DEFENSES
                                                   9                       2:19-cv-02874-SVW-MAA
Case 2:19-cv-02874-SVW-MAA Document 32 Filed 08/22/19 Page 11 of 13 Page ID #:211



    1
    2 9. The claims by some or all of those alleged to be putative class members are barred
    3      by the statute of limitations.
    4
                               TENTH AFFIRMATIVE DEFENSE
    5                                  (PAYMENT)
    6
        10. The claims of Plaintiff and/or others alleged to be putative class members are
    7
           barred, in whole or in part, by payment, setoff, and/or recoupment.
    8
    9                       ELEVENTH AFFIRMATIVE DEFENSE
                              (ACCORD AND SATISFACTION)
   10
   11 11. The claims of Plaintiff and/or others alleged to be members of the putative class
   12      are barred in whole or in part by the doctrine of accord and satisfaction.
   13
                            TWELFTH AFFIRMATIVE DEFENSE
   14                           (LACK OF STANDING)
   15
        12. Plaintiff and/or others alleged to be members of the putative class lack standing
   16
           to assert some or all of the claims stated in the Complaint and to seek some or all
   17
           of the relief requested.
   18
   19                     THIRTEENTH AFFIRMATIVE DEFENSE
                           (FAILURE TO MITIGATE DAMAGES)
   20
   21 13. The claims of Plaintiff and/or others alleged to be putative class members fail
   22     because Plaintiff or others alleged to be putative class members failed to take
   23     reasonable steps to mitigate their alleged damages, if any, and their recovery must
   24      be barred or diminished accordingly.
   25
                          FOURTEENTH AFFIRMATIVE DEFENSE
   26                            (UNCLEAN HANDS)
   27
   28
                                                                  CALLFIRE, INC.’S ANSWER AND
                                                                       AFFIRMATIVE DEFENSES
                                                  10                     2:19-cv-02874-SVW-MAA
Case 2:19-cv-02874-SVW-MAA Document 32 Filed 08/22/19 Page 12 of 13 Page ID #:212



    1
    2 14. Claims by Plaintiff and/or others alleged to be members of the putative class are
    3       barred in whole or in part by the doctrine of unclean hands.
    4
                            FIFTEENTH AFFIRMATIVE DEFENSE
    5                                  (WAIVER)
    6
        15. Plaintiff and/or others alleged to be members of the putative class, by their acts
    7
            and conduct, have waived any and all claims they have against CallFire.
    8
                            SIXTEENTH AFFIRMATIVE DEFENSE
    9                                 (ESTOPPEL)
   10 16. Claims by Plaintiff and/or others alleged to be members of the putative class are
   11       barred in whole or in part by the doctrine of estoppel.
   12
                          SEVENTEENTH AFFIRMATIVE DEFENSE
   13                                (LACHES)
   14 17. Claims by Plaintiff and/or others alleged to be members of the putative class are
   15       barred in whole or in part by the doctrine of laches.
   16
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                                                                      CALLFIRE, INC.’S ANSWER AND
                                                                           AFFIRMATIVE DEFENSES
                                                   11                        2:19-cv-02874-SVW-MAA
Case 2:19-cv-02874-SVW-MAA Document 32 Filed 08/22/19 Page 13 of 13 Page ID #:213



    1
    2   Dated: August 22, 2019                    Respectfully submitted,
    3
    4
    5                                        By: /s/ Michael B. Hazzard
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                                                 Ann T. Rossum (SBN. 281236)
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   14
                                                  Counsel to Defendant
   15                                             CALLFIRE, INC.

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                                                            CALLFIRE, INC.’S ANSWER AND
                                                                 AFFIRMATIVE DEFENSES
                                             12                    2:19-cv-02874-SVW-MAA
